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                                                                                    FORM 3-1
               UNITED STATES COURT OF INTERNATIONAL TRADE

__________________________________________x
                                          :
GARG TUBE EXPORT LLP and GARG TUBE        :
LIMITED,                                  :
                                          :
                        Plaintiffs,       :                       SUMMONS
                                          :
                                          :                       Court No. 21-00169
      v.                                  :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
__________________________________________x

TO:   The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
      Customs and Border Protection, and/or the United States International Trade Commission:


      PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
      U.S.C. § 1581(c) to contest the determination described below.

                                                   /s/ Mario Toscano
                                                   Clerk of the Court

   1. Name and standing of plaintiff: Plaintiffs in this action are Garg Tube Export LLP and
      Garg Tube Limited. As Indian producers/exporters of welded carbon steel standard pipes
      and tubes, Plaintiffs are interested parties within the meaning of 19 U.S.C. § 1677(9)(a),
      who were parties to the proceeding that led to the determination being challenged.
      Plaintiffs participated in the proceeding through the submission of questionnaire
      responses and written arguments. As such, Plaintiffs have standing to challenge the
      determination at issue pursuant to 28 U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).

   2. Brief description of the contested determination: The contested determination is the U.S.
      Department of Commerce’s final results in the administrative review of the antidumping
      duty order on welded carbon steel standard pipes and tubes from India. See Welded
      Carbon Steel Standard Pipes and Tubes from India: Final Results of Antidumping Duty
      Administrative Review; 2018-2010, 86 Fed. Reg. 14,872 (March 19, 2021). This
      determination is contested pursuant to 19 U.S.C. § 1516a(a)(2)(B)(iii) and 28 U.S.C.
      § 1581(c). This Summons is being filed within 30 days of the publication in the Federal
      Register of the final determination and is timely filed pursuant to 19 U.S.C.
      § 1516(a)(2)(A).

   3. Effective date of the determination: March 19, 2021.
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   4. Date of publication in the Federal Register of the contested determination: March 19,
      2021.

                                                   Respectfully submitted,

                                                   /s/ Ned H. Marshak
                                                   Ned H. Marshak
                                                   Dharmendra N. Choudhary
                                                   Jordan C. Kahn

                                                   GRUNFELD, DESIDERIO, LEBOWITZ
                                                   SILVERMAN & KLESTADT LLP
                                                   599 Lexington Avenue, 36th Floor
                                                   New York, NY 10022
                                                   (212) 557-4400
                                                   **
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                                                   Washington, DC 20005
                                                   (202) 783-6881
Dated: April 16, 2021
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                        SERVICE OF SUMMONS BY THE CLERK

         If this action, described in 28 U.S.C. §1581(c), is commenced to contest a determination
listed in section 516A(a)(2) or (3) of the Tariff Act of 1930, as amended, the action is
commenced by filing a summons only, and the clerk of the court is required to make service of
the summons. For that purpose, list below the complete name and mailing address of each
defendant to be served.

Attorney-In-Charge
International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza
New York, New York 10278

Director, Civil Division
Commercial Litigation Branch
U.S. Department of Justice
1100 L Street, NW
Washington, DC 20530

General Counsel
U.S. Department of Commerce
14th Street & Constitution Ave., NW
Washington, D.C. 20230


                                                            The Honorable Mario Toscano
                                                            Clerk of the Court

Date: April __, 2021                                 By:_______________________
